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                                                                        NEW YORK     PENNSYLVANIA     NEW JERSEY      DELAWARE
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VIA CM/ECF

September 27, 2018

Hon. Andrew. T. Baxter
Federal Building and US Court House
P.O. Box 7396
Syracuse, New York 13261-7396

Re:    Doe v. Syracuse University
       CIV 5:17-cv-00787-TJM-ATB
       Letter Request on Consent for Extension of Time to Answer

Dear Judge Baxter:

We represent defendant Syracuse University in the above case. Defendant’s Motion to Dismiss
was recently granted in part and denied in part . The deadline to answer the Complaint with
respect to the remaining claim is October 1, 2018.1 write to request a two week extension up to
and including October 15 , 2018 for defendant to answer the Complaint. We were informed by
your chambers that this request could be made to your attention by letter via the CM/ECF
system.

Plaintiffs counsel, Joshua Engel, Esq., has graciously informed us he has no objection to this
request. Accordingly, if this brief extension meets with Your Honor’s approval we respectfully
request that this application be granted. Defendant requested and was granted a one week
extension to answer or move against the Complaint in September 2017 . This is the first request
for an extension of time to answer the Complaint since Defendant’s Motion to Dismiss was
granted in part and denied in part in a Decision and Order dated September 16, 2018, and is
made in good faith and not for the purpose of delay.

Respectfully,

/s Jeffrey D. Casey

Jeffrey D. Casey (Bar No . 520896)

JDC

Joshua A . Engel, Esq. (Via CM/ECF)
Catherine Josh, Esq . (Via CM/ECF)
                                                 SO ORDERED:
                                                                               Andrew T. Baxter
                                                                          United States Magistrate Judge
                                                                           WARD GREENBERG HELLER & REIDY LLP
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